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                                     UNITED STATES BANKRUPTCY COURT
                  Southern
  _________________________________________                              Texas
                                            District of _________________________________________
In re __________________________________________
      Professional Fee Matters Concerning the Jackson Walker Law Firm
                                   Debtor
                                                                                              23-00645 (EVR)
                                                                                  Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                  Chapter ___________
_________________________________________
                                  Plaintiff
                         v.                                                       Adv. Proc. No. ________________
__________________________________________
                                 Defendant

                             SUBPOENA TO APPEAR AND TESTIFY
          AT A HEARING OR TRIAL IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
      David R. Jones
  To: ________________________________________________________________________________________
                                   (Name of person to whom the subpoena is directed)

   ■ YOU ARE COMMANDED to appear in the United States Bankruptcy Court at the time, date, and place set forth below
  to testify at a hearing or trial in this bankruptcy case (or adversary proceeding). When you arrive, you must remain at the
  court until the judge or a court official allows you to leave.
  PLACE United States Bankruptcy Court                                                                   COURTROOM                                   8B
        515 Rusk Avenue                                                                                  DATE AND TIME May 12, 2025, 8:30 a.m.
        Houston, Texas 77002                                                                            continuing through May 30, 2025, or as otherwise ordered by the Court.

  You must also bring with you the following documents, electronically stored information, or objects (leave blank if not
  applicable):



          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.

         April 3, 2025
  Date: _____________
                                   CLERK OF COURT

                                                                                 OR
                                   ________________________                              ________________________
                                   Signature of Clerk or Deputy Clerk                        Attorney’s signature


  The name, address, email address, and telephone number of the attorney representing (name of party)
  ____________________________
 Jackson Walker LLP            , who issues or requests this subpoena, are:
 Emily Smith, Rusty Hardin & Associates, LLP, 1401 McKinney Street, Suite 2250, Houston, Texas 77010


                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                                                                                                                  J 3DJH 


                            Federal Rule of Civil Procedure 45(c), (d), (e), and (g) (Effective 12/1/13)
                        (made applicable in bankruptcy cases by Rule 9016, Federal Rules of Bankruptcy Procedure)

(c) Place of compliance.                                                                     (ii) disclosing an unretained expert's opinion or information that does
                                                                                       not describe specific occurrences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                    study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                          (C) Specifying Conditions as an Alternative. In the circumstances
    (A) within 100 miles of where the person resides, is employed, or                  described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                             modifying a subpoena, order appearance or production under specified
    (B) within the state where the person resides, is employed, or regularly           conditions if the serving party:
transacts business in person, if the person                                                   (i) shows a substantial need for the testimony or material that cannot
      (i) is a party or a party’s officer; or                                          be otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial                     (ii) ensures that the subpoenaed person will be reasonably
expense.                                                                               compensated.

  (2) For Other Discovery. A subpoena may command:                                     (e) Duties in Responding to a Subpoena.
    (A) production of documents, or electronically stored information, or
things at a place within 100 miles of where the person resides, is employed,             (1) Producing Documents or Electronically Stored Information. These
or regularly transacts business in person; and                                         procedures apply to producing documents or electronically stored
    (B) inspection of premises, at the premises to be inspected.                       information:
                                                                                           (A) Documents. A person responding to a subpoena to produce
(d) Protecting a Person Subject to a Subpoena; Enforcement.
                                                                                       documents must produce them as they are kept in the ordinary course of
                                                                                       business or must organize and label them to correspond to the categories in
      (1) Avoiding Undue Burden or Expense; Sanctions. A party or
                                                                                       the demand.
attorney responsible for issuing and serving a subpoena must take
                                                                                           (B) Form for Producing Electronically Stored Information Not
reasonable steps to avoid imposing undue burden or expense on a person
                                                                                       Specified. If a subpoena does not specify a form for producing
subject to the subpoena. The court for the district where compliance is
                                                                                       electronically stored information, the person responding must produce it in
required must enforce this duty and impose an appropriate sanction —
                                                                                       a form or forms in which it is ordinarily maintained or in a reasonably
which may include lost earnings and reasonable attorney's fees — on a
                                                                                       usable form or forms.
party or attorney who fails to comply.
                                                                                           (C) Electronically Stored Information Produced in Only One Form. The
                                                                                       person responding need not produce the same electronically stored
  (2) Command to Produce Materials or Permit Inspection.
                                                                                       information in more than one form.
    (A) Appearance Not Required. A person commanded to produce
                                                                                           (D) Inaccessible Electronically Stored Information. The person
documents, electronically stored information, or tangible things, or to
                                                                                       responding need not provide discovery of electronically stored information
permit the inspection of premises, need not appear in person at the place of
                                                                                       from sources that the person identifies as not reasonably accessible because
production or inspection unless also commanded to appear for a deposition,
                                                                                       of undue burden or cost. On motion to compel discovery or for a protective
hearing, or trial.
                                                                                       order, the person responding must show that the information is not
    (B) Objections. A person commanded to produce documents or tangible
                                                                                       reasonably accessible because of undue burden or cost. If that showing is
things or to permit inspection may serve on the party or attorney designated
                                                                                       made, the court may nonetheless order discovery from such sources if the
in the subpoena a written objection to inspecting, copying, testing or
                                                                                       requesting party shows good cause, considering the limitations of Rule
sampling any or all of the materials or to inspecting the premises — or to
                                                                                       26(b)(2)(C). The court may specify conditions for the discovery.
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
                                                                                          (2) Claiming Privilege or Protection.
compliance or 14 days after the subpoena is served. If an objection is made,
                                                                                            (A) Information Withheld. A person withholding subpoenaed
the following rules apply:
                                                                                       information under a claim that it is privileged or subject to protection as
      (i) At any time, on notice to the commanded person, the serving party
                                                                                       trial-preparation material must:
may move the court for the district where compliance is required for an
                                                                                              (i) expressly make the claim; and
order compelling production or inspection.
                                                                                              (ii) describe the nature of the withheld documents, communications,
      (ii) These acts may be required only as directed in the order, and the
                                                                                       or tangible things in a manner that, without revealing information itself
order must protect a person who is neither a party nor a party's officer from
                                                                                       privileged or protected, will enable the parties to assess the claim.
significant expense resulting from compliance.
                                                                                            (B) Information Produced. If information produced in response to a
                                                                                       subpoena is subject to a claim of privilege or of protection as trial-
  (3) Quashing or Modifying a Subpoena.
                                                                                       preparation material, the person making the claim may notify any party that
    (A) When Required. On timely motion, the court for the district where
                                                                                       received the information of the claim and the basis for it. After being
compliance is required must quash or modify a subpoena that:
                                                                                       notified, a party must promptly return, sequester, or destroy the specified
      (i) fails to allow a reasonable time to comply;
                                                                                       information and any copies it has; must not use or disclose the information
      (ii) requires a person to comply beyond the geographical limits
                                                                                       until the claim is resolved; must take reasonable steps to retrieve the
specified in Rule 45(c);
                                                                                       information if the party disclosed it before being notified; and may
      (iii) requires disclosure of privileged or other protected matter, if no
                                                                                       promptly present the information under seal to the court for the district
exception or waiver applies; or
                                                                                       where compliance is required for a determination of the claim. The person
      (iv) subjects a person to undue burden.
                                                                                       who produced the information must preserve the information until the claim
    (B) When Permitted. To protect a person subject to or affected by a
                                                                                       is resolved.
subpoena, the court for the district where compliance is required may, on
                                                                                       …
motion, quash or modify the subpoena if it requires:
                                                                                       (g) Contempt. The court for the district where compliance is required – and
      (i) disclosing a trade secret or other confidential research,
                                                                                       also, after a motion is transferred, the issuing court – may hold in contempt
development, or commercial information; or
                                                                                       a person who, having been served, fails without adequate excuse to obey
                                                                                       the subpoena or an order related to it


                                          For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013)
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                                           EXHIBIT A

        Written Statement Required by Guide to Judiciary Policy, Volume 20, § 830(a)

  I.    Nature of testimony sought

Jackson Walker LLP intends to take testimony on the following topics:

    1. Any topic listed by the United States Trustee in its Exhibit A “Testimony Topics” to the
       Subpoena to Appear and Testify at a Hearing or Trial in a Bankruptcy Case (or Adversary
       Proceeding) directed to David Jones and approved by the Court.

 II.    Relevance and necessity of testimony sought

The Office of the U.S. Trustee (“U.S. Trustee”) has, in 33 separate cases either presided over by
Judge Jones or mediated by former Judge Jones, sought relief under Rule 60(b)(6) of the Federal
Rules of Civil Procedure (1) vacating orders approving Jackson Walker’s applications for retention
and for compensation and expenses and, (2) sanctioning Jackson Walker by ordering the return of
all fees and expenses previously paid to the firm. The crux of the U.S. Trustee’s argument is that
the undisclosed intimate relationship between former Judge Jones and Ms. Freeman significantly
compromised the integrity of and public faith in the bankruptcy system and, accordingly, tainted
these cases and damaged the administration of the various bankruptcy estates by creating an
unlevel playing field for parties, who might have sought recusal of former Judge Jones, objected
to the retention of Jackson Walker, or sought other appropriate relief had the fact of their
relationship been known. The U.S. Trustee argues that sanctions against Jackson Walker are
appropriate because its attorneys failed to disclose the relationship between former Judge Jones
and Ms. Freeman. Jackson Walker has disputed these allegations.

Testimony on the above-listed topics is relevant to this litigation because the crux of the U.S.
Trustee’s position is that individuals at Jackson Walker knew of the relationship between Ms.
Freeman and former Judge Jones and that the relationship should have been disclosed both by
Jackson Walker and former Judge Jones. Jackson Walker believes that testimony by former Judge
Jones will shed light on the crucial issue of whether anyone at Jackson Walker (aside from Ms.
Freeman) was aware of the relationship between former Judge Jones and Ms. Freeman. Moreover,
Jackson Walker believes that testimony from former Judge Jones is necessary to show that Jackson
Walker’s popularity as local counsel was not due to any favoritism shown by former Judge Jones
to Jackson Walker (and instead was a result of Jackson Walker’s substantial efforts to form and
strengthen relationships with large law firms that had no significant Houston bankruptcy presence,
and to advocate for the Southern District of Texas by emphasizing the benefits of the complex case
panel, the quality of the judges in the Southern District of Texas, and the excellence of the local
bar). All of the above-described testimony is available solely from former Judge Jones. Only
former Judge Jones knows who, if anyone, he told about his relationship with Ms. Freeman, only
former Judge Jones knows why he ruled the way he did and whether his rulings were attributable
to a bias towards Jackson Walker. Likewise, testimony regarding why former Judge Jones
concluded that he did not have to disclose his relationship with Ms. Freeman is only available from
former Judge Jones. As such, the testimony sought is not only highly relevant to this litigation, but
also not readily available from other sources or by other means.



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III.    Factors to be considered by the determining officer in authorizing the testimony

The determining officer should authorize the testimony of Judge Jones based on the following
factors:

   1. Former Judge Jones resigned from his judicial position and therefore no resources of the
      United States or time of federal judicial personnel will be expended in Jackson Walker’s
      taking of former Judge Jones’s testimony.

   2. Former Judge Jones’s testimony will not aid or hinder the federal judiciary in the
      performance of official duties.

   3. Former Judge Jones’s testimony is necessary to prevent the perpetration of injustice, as the
      U.S. Trustee has alleged that the undisclosed intimate relationship between former Judge
      Jones and Ms. Freeman significantly compromised the integrity of and public faith in the
      bankruptcy system.

   4. The request is not unduly burdensome or inappropriate under applicable court or
      administrative rules.

   5. The testimony is appropriate under the rules of procedure governing this case, as well as
      the scheduling order entered in this case.

   6. Jackson Walker is properly authorized to make the request.

   7. Jackson Walker’s request meets the requirements of the regulations established by the
      Guide to Judiciary Policy, Volume 20, § 830(a).

   8. Jackson Walker properly served the request under applicable court, administrative, and
      other rules.

   9. Former Judge Jones’s testimony would not violate a statute, regulation, or ethical rule.

   10. Former Judge Jones’s testimony on the topics set forth herein would not disclose
       information regarding the exercise of judicial or quasi-judicial responsibilities by federal
       judicial personnel in the decisional or deliberative process, except to the extent that former
       Judge Jones testifies on his judicial obligations related to disqualification, recusal, and
       disclosure.

   11. Former Judge Jones’s testimony would not disclose confidential information from or
       pertaining to a presentence investigation report or pertaining to an individual’s probation,
       parole, or supervised release, and would not disclose any other information that is
       confidential under any applicable statute or regulation.

   12. Former Judge Jones’s testimony is not reasonably expected to result in the appearance of
       the federal judiciary favoring one litigant over another, or endorsing or supporting a
       position advanced by a litigant.



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13. Former Judge Jones’s testimony on the topics set forth herein is not available from other
    sources.

14. Former Judge Jones’s testimony is not sought as expert witness testimony.

15. The request does not seek personnel files, records, or documents pertaining to a current or
    former federal judicial officer or employee.




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Guide to Judiciary Policy
Vol. 20: Administrative Claims and Litigation

Ch. 8: Testimony and Production of Records
§ 810 Overview
      § 810.10 Purpose
      § 810.20 Authority
      § 810.30 Definitions
      § 810.40 Applicability

§ 820 Testimony and Production of Records

§ 830 Contents and Timeliness of a Request

§ 840 Identity of Determining Officer

§ 850 Procedure When Request Is Made




§ 810 Overview
§ 810.10 Purpose

      (a)    These regulations establish policy, assign responsibilities and prescribe
             procedures with respect to:

             (1)    the production or disclosure of official information or records by the
                    federal judiciary; and

             (2)    the testimony of present or former judiciary personnel relating to
                    any official information acquired by any such individual as part of
                    that individual’s performance of official duties, or by virtue of that
                    individual’s official status, in federal, state, or other legal
                    proceedings covered by these regulations.

      (b)    The purpose of these regulations is, among other things, to:

             (1)    conserve the time of federal judicial personnel for conducting
                    official business;

             (2)    minimize the involvement of the federal judiciary in issues unrelated
                    to its mission;


                                   Last substantive revision (Transmittal GR-4) September 2, 2009
                                               Last revised (minor technical changes) July 5, 2016
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                (3)      maintain the impartiality of the federal judiciary in disputes between
                         private litigants;

                (4)      avoid spending the time and money of the United States for private
                         purposes; and

                (5)      protect confidential and sensitive information and the deliberative
                         processes of the federal judiciary.

§ 810.20 Authority

Adopted by the Judicial Conference of the United States in March 2003 (JCUS-MAR 03,
p. 9), these regulations are promulgated under the authority granted the Director of the
Administrative Office of the U.S. Courts (AO), under the supervision and direction of the
Conference, to:

        (a)     “[s]upervise all administrative matters relating to the offices of clerks and
                other clerical and administrative personnel of the courts” (28 U.S.C.
                § 604(a)(1));

        (b)     “[p]erform such other duties as may be assigned to him by. . .the Judicial
                Conference of the United States” (28 U.S.C. § 604(a)(24));

        (c)     “make, promulgate, issue, rescind, and amend rules and regulations. . .as
                may be necessary to carry out the Director’s functions, powers, duties,
                and authority” (28 U.S.C. § 604(f)); and

        (d)     “delegate any of the Director’s functions, powers, duties, and authority. . .
                to such officers and employees of the judicial branch of Government as
                the Director may designate” (28 U.S.C. § 602(d)).

                                       § 810.30 Definitions
Information      All information, records, documents, or materials of any kind, however stored,
or records       that are in the custody or control of the federal judiciary or were acquired by
                 federal judicial personnel in the performance of their official duties or because
                 of their official status.

Judicial         All present and former officers and employees of the federal judiciary and any
personnel        other individuals who are or have been appointed by, or subject to the
                 supervision, jurisdiction, or control of, the federal judiciary, including
                 individuals hired through contractual agreements by or on behalf of the federal
                 judiciary, or performing services under such agreements for the federal
                 judiciary, such as consultants, contractors, subcontractors, and their
                 employees and personnel. This phrase also includes alternative dispute
                 resolution neutrals or mediators, special masters, individuals who have served
                 and are serving on any advisory committee or in any advisory capacity, and
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                                       § 810.30 Definitions
                 any similar personnel performing services for the federal judiciary.

Legal            All pretrial, trial, and post-trial stages of all existing or anticipated judicial or
proceedings      administrative actions, hearings, investigations, cases, controversies, or
                 similar proceedings, including grand jury proceedings, before courts,
                 agencies, commissions, boards or other tribunals, foreign and domestic, or all
                 legislative proceedings pending before any state or local body or agency,
                 other than those specified in § 810.40(b).

Request          An order, subpoena, or other demand of a court, or administrative or other
                 authority, of competent jurisdiction, under color of law, or any other request by
                 whatever method, for the production, disclosure, or release of information or
                 records by the federal judiciary, or for the appearance and testimony of federal
                 judicial personnel as witnesses as to matters arising out of the performance of
                 their official duties, in legal proceedings. This definition includes requests for
                 voluntary production or testimony in the absence of any legal process.

Testimony        Any written or oral statement in any form by a witness arising out of the
                 performance of the witness’ official duties, including personal appearances
                 and statements in court or at a hearing or trial, depositions, answers to
                 interrogatories, affidavits, declarations, interviews, telephonic, televised, or
                 videotaped remarks, or any other response during discovery or similar
                 proceedings that would involve more than production of documents.

§ 810.40 Applicability
        (a)     These regulations apply to all components and personnel of the federal
                judiciary, except the following agencies and their personnel:

                      •   Supreme Court of the United States,
                      •   Federal Judicial Center, and
                      •   United States Sentencing Commission.

        (b)     These regulations do not apply to:

                (1)       Legal proceedings in which the federal judiciary or a court or office
                          of the federal judiciary is a party.

                (2)       Legal proceedings, arising out of the performance of official duties
                          by federal judicial personnel, in which federal judicial personnel are
                          parties.

                (3)       Legal proceedings in which federal judicial personnel are to testify
                          while in leave or off-duty status as to matters that do not arise out
                          of the performance of official duties. (Note: These regulations do
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                         not seek to deny federal judicial personnel access to the courts as
                         citizens in their private capacities on off-duty time.)

                (4)      Congressional requests for testimony or documents.

                (5)      Requests governed by the garnishment regulations in Guide, Vol.
                         20, Ch. 5.

                (6)      Proceedings conducted under the Judicial Conduct and Disability
                         Act, 28 U.S.C. § § 351-364, under the authority conferred on the
                         judicial councils of the respective federal judicial circuits by
                         28 U.S.C. § 332, or under the authority conferred on the Judicial
                         Conference of the United States by 28 U.S.C. § 331.

                (7)      Requests by members of the public, when properly made through
                         the procedures established by a court for that purpose, for records
                         or documents, such as court files or dockets, routinely made
                         available to members of the public for inspection or copying.

§ 820 Testimony and Production of Records
        (a)     Federal judicial personnel may not provide testimony or produce records
                in legal proceedings except as authorized in accordance with these
                regulations.

        (b)     Testimony may be taken from federal judicial personnel only at the federal
                judicial personnel’s place of business, or at any other place authorized by
                the determining officer designated in § 840(b). Additional conditions may
                be specified by the determining officer. The time for such testimony
                should be reasonably fixed so as to avoid substantial interference with the
                performance of official duties by federal judicial personnel.

        (c)     Nothing in these regulations should restrict in any way any defenses,
                objections, or privileges that may be asserted by federal judicial personnel
                in response to a request.

        (d)     These regulations are not intended to, and do not:

                (1)      waive the sovereign immunity of the United States; or

                (2)      infringe upon or displace the responsibilities committed to the
                         Department of Justice in conducting litigation on behalf of the
                         United States in appropriate cases.

        (e)     These regulations are intended only to govern the internal operation of the
                federal judiciary and are not intended to create, do not create, and may
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                not be relied upon to create any right or benefit, substantive or procedural,
                enforceable in law or equity against the United States or against the
                federal judiciary or any court, office, or personnel of the federal judiciary.

§ 830 Contents and Timeliness of a Request
        (a)     The request for testimony or production of records must set forth, or must
                be accompanied by an affidavit setting forth, a written statement by the
                party seeking the testimony or production of records, or by counsel for the
                party, containing:

                •        an explanation of the nature of the testimony or records sought,

                •        the relevance of the testimony or records sought to the legal
                         proceedings, and

                •        the reasons why the testimony or records sought, or the information
                         contained therein, are not readily available from other sources or by
                         other means.

                (1)      This explanation must contain sufficient information for the
                         determining officer designated in § 840(b) to determine whether or
                         not federal judicial personnel should be allowed to testify or the
                         records should be produced.

                (2)      Where the request does not contain an explanation sufficient for
                         this purpose, the determining officer may deny the request or may
                         ask the requester to provide additional information.

        (b)     The request for testimony or production of records, including the written
                statement required by § 830(a), must be provided to the federal judicial
                personnel from whom testimony or production of records is sought at least
                15 working days in advance of the time by which the testimony or
                production of records is to be required. Failure to meet this requirement
                will provide a sufficient basis for denial of the request.

        (c)     The determining officer designated in § 840(b) has the authority to waive
                the requirements of this section (i.e., § 830) in the event of an emergency
                under conditions which the requester could not reasonably have
                anticipated and which demonstrate a good faith attempt to comply with the
                requirements of these regulations. In no circumstance, however, is a
                requester entitled to consideration of an oral or untimely request. To the
                contrary, whether to permit such an exceptional procedure is a decision
                within the sole discretion of the determining officer.
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§ 840 Identity of Determining Officer
        (a)     Federal judicial personnel may not, in response to a request for testimony
                or the production of records in legal proceedings, comment, testify, or
                produce records without the prior approval of the determining officer
                designated below in § 840(b).

        (b)     The determining officer authorized to make determinations under these
                regulations will be as follows:

                (1)      In the case of a request directed to a federal court of appeals judge,
                         district judge, Court of International Trade judge, Court of Federal
                         Claims judge, bankruptcy judge, or magistrate judge, or directed to
                         a current or former member of such a judge’s personal staff (such
                         as a judge’s secretary, law clerk), the determining officer will be the
                         federal court of appeals judge, district judge, Court of International
                         Trade judge, Court of Federal Claims judge, bankruptcy judge, or
                         magistrate judge himself or herself.

                (2)      In the case of a request directed to a former federal court of
                         appeals judge, district judge, Court of International Trade judge,
                         Court of Federal Claims judge, bankruptcy judge, or magistrate
                         judge, or directed to a former member of a former judge’s personal
                         staff who is no longer a court employee and thus is not covered by
                         § 840(b)(1) or (b)(3), the determining officer will be the chief judge
                         of the court on which the former judge previously served.

                (3)      In the case of a request directed to an employee or former
                         employee of a court office (other than an employee or former
                         employee covered by § 840(b)(1), such as the office of the clerk of
                         court, the office of the circuit executive, the staff attorneys’ and/or
                         preargument attorneys’ office, the probation and/or pretrial services
                         office, and the office of the federal public defender, the determining
                         officer will be the unit head of the particular office, such as the:

                         •       clerk of court,
                         •       circuit executive,
                         •       senior staff attorney,
                         •       chief probation officer,
                         •       chief pretrial services officer, or
                         •       federal public defender.

                         Note: In these instances, the determining officer (except the
                         federal public defender, as provided below) should, as provided by
                         local rule or order, consult with the chief judge of the court served
                         by the particular office regarding the proper response to a request.
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                         The federal public defender, in the case of a request related to the
                         defender office’s administrative function (but not requests related to
                         the defender office’s provision of representation pursuant to the
                         Criminal Justice Act, 18 U.S.C. § 3006A, and related statutes),
                         should, as provided by local rule or order, consult with the chief
                         judge of the court of appeals that appoints the federal public
                         defender regarding the proper response to such a request.

                (4)      In the case of a request directed to an employee or former
                         employee of the AO, the determining officer will be the AO’s
                         General Counsel.

                (5)      In the case of a request not specified in subsections (1) through (4)
                         above (such as a request made to federal judicial personnel as
                         defined in § 810.30 (“judicial personnel”) who are not current or
                         former judges or their staff, employees of a court office, or
                         employees of the AO), the determining officer will be the officer
                         designated to serve as the determining officer by the chief judge of
                         the court served by the recipient of the request. In these instances,
                         the determining officer (if someone other than the chief judge of the
                         relevant court) should, if the circumstances warrant, consult with
                         the chief judge of the relevant court regarding the proper response
                         to a request.

§ 850 Procedure When Request Is Made
        (a)     In response to a request for testimony or the production of records by
                federal judicial personnel in legal proceedings covered by these
                regulations, the determining officer may determine:

                •        whether the federal judicial personnel may be interviewed,
                         contacted, or used as witnesses, including as expert witnesses,
                         and
                •        whether federal judicial records may be produced, and what, if any
                         conditions will be imposed upon such interview, contact, testimony,
                         or production of records.

                The determining officer may deny a request if the request does not meet
                any requirement imposed by these regulations.

                In determining whether or not to authorize the disclosure of federal judicial
                information or records or the testimony of federal judicial personnel, the
                determining officer will consider, based on the following factors, the effect
                in the particular case, as well as in future cases generally, which testifying
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                or producing records will have on the ability of the federal judiciary or
                federal judicial personnel to perform their official duties.

                (1)      The need to avoid spending the resources of the United States for
                         private purposes, to conserve the time of federal judicial personnel
                         for the performance of official duties, and to minimize the federal
                         judiciary’s involvement in issues unrelated to its mission.

                (2)      Whether the testimony or production of records would assist the
                         federal judiciary in the performance of official duties.

                (3)      Whether the testimony or production of records is necessary to
                         prevent the perpetration of fraud or injustice in the case or matter in
                         question.

                (4)      Whether the request is unduly burdensome or is inappropriate
                         under applicable court or administrative rules.

                (5)      Whether the testimony or production of records is appropriate or
                         necessary under the rules of procedure governing the case or
                         matter in which the request arises, or under the relevant
                         substantive law of privilege.

                (6)      Whether the request is within the proper authority of the party
                         making it.

                (7)      Whether the request meets the requirements of these regulations.

                (8)      Whether the request was properly served under applicable court,
                         administrative, or other rules.

                (9)      Whether the testimony or production of records would violate a
                         statute, regulation, or ethical rule.

                (10)     Whether the testimony or production of records would disclose
                         information regarding the exercise of judicial or quasi-judicial
                         responsibilities by federal judicial personnel in the decisional or
                         deliberative process.

                (11)     Whether the testimony or production of records would disclose
                         confidential information from or pertaining to a presentence
                         investigation report or pertaining to an individual’s probation,
                         parole, or supervised release, or would disclose any other
                         information that is confidential under any applicable statute or
                         regulation.
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                (12)     Whether the testimony or production of records reasonably could
                         be expected to result in the appearance of the federal judiciary
                         favoring one litigant over another, or endorsing or supporting a
                         position advocated by a litigant.

                (13)     Whether the request seeks testimony, records or documents
                         available from other sources.

                (14)     Whether the request seeks testimony of federal judicial personnel
                         as expert witnesses.

                (15)     Whether the request seeks personnel files, records or documents
                         pertaining to a current or former federal judicial officer or employee,
                         and

                         (A)     the personnel files, records or documents sought by the
                                 request may be obtained from the current or former federal
                                 judicial officer or employee in question, or

                         (B)     the personnel files, records or documents sought by the
                                 request would be made available to the requester with the
                                 written consent or authorization of the current or former
                                 federal judicial officer or employee in question.

                (16)     Any other consideration that the determining officer designated in
                         § 840(b) may consider germane to the decision.

        (b)     Federal judicial personnel upon whom a request for testimony or the
                production of records in legal proceedings is made should promptly notify
                the determining officer designated in § 840(b). If the determining officer
                determines, upon consideration of the requirements of these regulations
                and the factors listed in § 850(a), that the federal judicial personnel upon
                whom the request was made should not comply with the request, the
                federal judicial personnel upon whom the request was made should notify
                the requester of these regulations and must respectfully decline to comply
                with the request. In appropriate circumstances federal judicial personnel
                may — through the Department of Justice, or with the assistance of
                retained legal counsel if the Department of Justice is unavailable — file a
                motion, before the appropriate court or other authority, to quash such a
                request or to obtain other appropriate relief.

        (c)     If, after federal judicial personnel have received a request in a legal
                proceeding and have notified the determining officer in accordance with
                this section, a response to the request is required before instructions from
                the determining officer are received, federal judicial personnel should
                notify the requester of these regulations and inform the requester that the
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                request is under review pursuant to these regulations. If necessary,
                federal judicial personnel may — through the Department of Justice, or
                with the assistance of retained legal counsel if the Department of Justice
                is unavailable — seek a stay of the request pending a final determination
                by the determining officer, or seek other appropriate relief.

        (d)     If, in response to action taken under § 850(c), a court of competent
                jurisdiction or other appropriate authority declines to stay the effect of a
                request pending a determination by the determining officer, or if such court
                or other authority orders that the request be complied with notwithstanding
                the final decision of the determining officer, the federal judicial personnel
                upon whom the request was made must notify the determining officer and
                must comply with the determining officer’s instructions regarding
                compliance with the order or request. Unless and until otherwise
                instructed by the determining officer, however, the federal judicial
                personnel upon whom the request was made must respectfully decline to
                comply with the order or request. See United States ex rel. Touhy v.
                Ragen, 340 U.S. 462 (1951).
